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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


NOALA FRITZ et al.,

                Plaintiffs,                              Civil Action No.: 15-456 (RDM)
v.
ISLAMIC REPUBLIC OF IRAN,
IRANIAN ISLAMIC REVOLUTIONARY GUARD
CORPS, and
IRANIAN JOHN DOES #1-5,

                Defendants.

                                     NOTICE OF FILING

       Pursuant to the Court’s July 20, 2018 Order, Plaintiffs respectfully provide notice of

filing of their damages memoranda and accompanying exhibits. Where applicable, all exhibits

have been redacted for privacy protection in compliance with Federal Rule of Civil Procedure

5.2. Additionally, pursuant to Local Civil Rule 5.3(e)(1), exhibits that are not in a format that

readily permits electronic filing on ECF (e.g., videos) will be maintained in the possession of

Plaintiffs’ counsel. Exhibits containing such material are identified on the list below with an

“#.” Finally, exhibits previously ordered sealed by the Court have been filed under seal and are

indicated below by an “*.”

       Courtesy copies of all unredacted materials were previously provided to the Court on July

18, 2018.

   Appendix A: Memorandum in Support of Claims for Compensatory Damages for the
                 Estate of Jacob Fritz and the Family of Jacob Fritz

Appendix         Description
  A-1.           Photographs – Jacob Fritz and Family (Trial Ex. 47)
  A-2.           Photographs of Jacob Fritz
  A-3.           Photographs of Jacob Fritz and Family
  A-4.           #Video of Funeral Service of Jacob Fritz
  A-5.           Letter from Jacob Fritz to the Falls City Journal
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  A-6.         List of Claimant Family Members of Jacob Fritz
  A-7.         #Deposition Transcript and Video for Noala Fritz dated March 2, 2018
  A-8.         #Deposition Transcript and Video for Daniel Fritz dated March 2, 2018
  A-9.         #Deposition Transcript and Video for Ethan Fritz dated March 14, 2018
  A-10.        CFES Report – Fritz dated May 23, 2018
  A-11.        Curriculum Vitae of Economists
  A-12.        Estate Documents for Jacob Fritz and Lyle Fritz (Trial Ex. 43)
  A-13.        *Certificate of Death (Overseas) for Jacob
               Fritz, dated February 1, 2007 (Trial Ex. 69)
  A-14.        *Armed Forces Medical Examiner’s Report -
               Jacob Fritz, dated March 13, 2007 (Trial Ex. 6)

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 Appendix B: Memorandum in Support of Claims for Compensatory Damages for the
    Estate of Johnathan Bryan Chism and the Family of Johnathan Bryan Chism

Appendix       Description
  B-1.         Photographs – Johnathan Bryan Chism and Family (Trial Ex. 48)
  B-2.         Photographs of Johnathan Bryan Chism
  B-3.         Photographs of Johnathan Bryan Chism and Family
  B-4.         List of Claimant Family Members of Johnathan Bryan Chism
  B-5.         Deposition Transcript and Video for Elizabeth Chism dated March 16, 2018
  B-6.         Deposition Transcript and Video for Danny Chism dated March 16, 2018
  B-7.         Deposition Transcript and Video for Vanessa Chism dated March 16, 2018
  B-8.         Deposition Transcript and Video for Julie Chism dated March 16, 2018
  B-9.         CFES Report – Chism dated May 23, 2018
  B-10.        Curriculum Vitae of Economists
  B-11.        Estate Documents for Johnathan Bryan Chism (Trial Ex. 44)
  B-12.        *Certificate of Death (Overseas) for
               Johnathan Bryan Chism, February 1, 2007 (Trial Ex. 71)
  B-13.        *Armed Forces Medical Examiner’s Report -
               Johnathan Bryan Chism, dated February 15, 2007 (Trial Ex. 7)

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 Appendix C: Memorandum in Support of Claims for Compensatory Damages for the
              Estate of Shawn Falter and the Family of Shawn Falter

Appendix       Description
  C-1.         Photographs – Shawn Falter and Family (Trial Ex. 49)
  C-2.         Photographs of Shawn Falter
  C-3.         Photographs of Shawn Falter and Family
  C-4.         #Video of Funeral Service of Shawn Falter
  C-5.         New York Legislative Assembly Resolution No. 81 (2007) – Resolution in

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               Tribute to Shawn Falter
  C-6.         List of Claimant Family Members of Shawn Falter (Trial Ex. 68)

  C-7.         #Deposition Transcript and Video for Russell J. Falter dated February 28,
               2018
  C-8.         #Deposition Transcript and Video for Linda Falter dated February 28, 2018
  C-9.         #Deposition Transcript and Video for Marjorie Falter dated February 27, 2018
  C-10.        #Deposition Transcript and Video for Russell C. Falter dated February 27,
               2018
  C-11.        #Deposition Transcript and Video for John Sackett dated February 27, 2018
  C-12.        #Deposition Transcript and Video for Jason Sackett dated February 27, 2018
  C-13.        #Deposition Transcript and Video for Marsha Novak dated February 27, 2018
  C-14.        #Deposition Transcript and Video for David Lucas dated February 27, 2018
  C-15.        #Deposition Transcript and Video for Timothy Lucas dated February 28, 2018
  C-16.        #Deposition Transcript and Video for Andrew Lucas dated February 28, 2018
  C-17.        CFES Report – Falter dated May 23, 2018
  C-18.        Curriculum Vitae of Economists
  C-19.        Estate Documents for Shawn Falter (Trial Ex. 45)
  C-20.        *Certificate of Death (Overseas) for Shawn
               Falter, January 31, 2007 (Trial Ex. 72)
  C-21.        *Armed Forces Medical Examiner’s Report -
               Shawn Falter, dated April 2, 2007 (Trial Ex. 8)

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 Appendix D: Memorandum in Support of Claims for Compensatory Damages for the
            Estate of Ahmed Al-Taie and the Family of Ahmed Al-Taie

Appendix       Description
  D-1.         Photographs – Ahmed Al-Taie and Family (Trial Ex. 50)
  D-2.         Photographs of Ahmed Al-Taie
  D-3.         Photographs of Ahmed Al-Taie and Family
  D-4.         #Video of Funeral Service of Ahmed Al-Taie
  D-5.         List of Claimant Family Members of Ahmed Al-Taie
  D-6.         #Deposition Transcript and Video for Kousay Al-Taie dated April 2, 2018
  D-7.         #Deposition Transcript and Video for Nawal Al-Taie dated April 2, 2018
  D-8.         #Deposition Transcript and Video for Hathal K. Taie dated April 2, 2018
  D-9.         #Deposition Transcript and Video for Bashar Al-Taie dated March 30, 2018
  D-10.        CFES Report – Al-Taie dated May 23, 2018
  D-11.        Curriculum Vitae of Economists
  D-12.        Estate Documents for Ahmed Al-Taie (Trial Ex. 46)
  D-13.        *Certificate of Death (Overseas) for Ahmed
               Al-Taie dated February 29, 2012 (Trial Ex. 70)
  D-14.        *Armed Forces Medical Examiner’s Report -
               Ahmed Al-Taie, dated December 13, 2013 (Trial Ex. 9)

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Dated: July 23, 2018                      Respectfully Submitted,

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